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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                            UNITED STATES DISTRICT COURT                           August 05, 2021
                                                                                  Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

PETE RUSSELL,                                    §
                                                 §
         Petitioner,                             §
VS.                                              §    CIVIL ACTION NO. 4:13-CV-3636
                                                 §
BOBBY LUMPKIN,                                   §
                                                 §
         Respondent.                             §

                                             ORDER

       This Court appointed Mr. Winston Cochran to represent Texas death row inmate Pete

Russell in 2014. In 2019, this Court denied the federal petition for a writ of habeas corpus

filed by Russell. (Docket Entry No. 58). On September 4, 2020, the Court of Appeals for the

Fifth Circuit entered an order denying Russell’s request for a Certificate of Appealability.

See Russell v. Lumpkin, 827 F. App’x 378 (5th Cir. 2020). The Supreme Court has recently

denied Russell’s petition for a writ of certiorari.

       Russell has repeatedly filed papers expressing concerns about his legal representation.

(Docket Entry Nos. 48, 64, 67, 69, 71). Russell now has filed a pro se motion for the

substitution of counsel. Russell moves this Court to remove Mr. Cochran and appoint the

Capital Habeas Unit of the Community Defender for the Eastern District of Pennsylvania

(“CHU”) to represent him. (Docket Entry No. 71).

       Until this point, Mr. Cochran’s experience with this case militated against the

substitution of counsel. The habeas process, however, has now run its course. With the

changed circumstances in this case, the Court GRANTS Russell’s motion. Mr. Cochran is




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removed as counsel of record and the CHU will represent Russell “throughout every

subsequent stage of available judicial proceedings.” 18 U.S.C. § 3599(e).

       It is so ORDERED.

       SIGNED on this 5th day of August, 2021.


                                              ___________________________________
                                              Kenneth M. Hoyt
                                              United States District Judge




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